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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                            :           CASE NO. 21-52577-PWB
                                                  :
CYNTHIA WILLIAMS,                                 :           CHAPTER 7
                                                  :
         Debtor.                                  :
                                                  :

                   TRUSTEE’S NOTICE TO CLERK NOT TO DISMISS CASE

         During his investigation, the undersigned Chapter 7 Trustee (“Trustee”) has identified
and is investigating substantial non-exempt assets that may result in a meaningful, if not
substantial, distribution to unsecured creditors in this case. Trustee respectfully requests that this
case NOT BE DISMISSED due to the Debtor’s failure to make filing fee installment payments
and/or filing deficiencies so that Trustee can administer the assets for the benefit of unsecured
creditors.


         Respectfully submitted this 14th day of May, 2021.


                                                      /s/ S. Gregory Hays
                                                      S. Gregory Hays
Hays Financial Consulting, LLC                        Chapter 7 Trustee
2964 Peachtree Road, NW, Ste 555
Atlanta, GA 30305
(404) 926-0060
